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                           U N ITED STAT ES D ISTR ICT CO UR T
                           SO U TH ER N DISTR IC T O F FLO R IDA

                           Case N o.17-81370-CV-M lD D LEBRO O K S

   A N DR EW H OD GES,an individual;
   VLADIM IR COOD,an individual;
   GAU TA M D ESA I,an individual;
   JOD Y POW ELL,an individual;
   JEFFREY HEBERLING,an individual;
   SHA M M INA B UK UM A R,an individual;and
   ANTHONY SAJEW ICZ,an individual;

         Plaintiffs,


   DAN IEL HA RRISON ,

         D efendant.


            O R DER O N PLA IN TIFFS'M O TIO N FO R SU M M AR Y JUD G M EN T

         TH IS CA U SE com es before the C ourt on the M otion for Sum m ary Judgm ent against

  Defendant Daniel Harrison filed by Plaintiffs on December 28, 2018. (DE 54). Defendant

  Harrison is proceeding pro se in this m atter. On January 4, 20 19, l entered an Order w ith

  instructionsto DefendantHarrison regarding the operation ofFed. R .Civ.P. 56 and advising

  him oftheconsequencesofhisfailuretoproperly respond (DE 57).Thereafter,on January 22,
  2019,Harrison tiled aResponsein Opposition to the Motion forSummary Judgment(DE 59),
  andaSsM otion toOrderImmediateand UrgentSubpoenaofPotentiallyConnected Parties''(DE
  60). Plaintiffsfiled a Reply in supportoftheirM otion forSummaryJudgmenton January 29,
  2019 (DE 62),and Response in Opposition to Harrison'smotion forsubpoena on February 6,
  2019(DE 63).
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  1.     O VE RV IEW

         On M arch 7,2018,Plaintiffs filed an Am ended Complaint for damages and equitable

  reliefagainstDefendantsM onkeyCapital,LLC,M onkey Capital,lnc.,andDanielHarrison.(DE
  28 orCtAmended Complainf'). A tthe heartofPlaintiffs'law suitare allegations thatPlaintiffs
  contributed cryptocurrency worth m illions of dollars in advance of a scheduled Initial Coin

  Offering (ICO)and supposed launch ofa private cryptocurrency exchange and decentralized
  hedge fund (the ûsM orlkey CapitalMarket''). Plaintiffsstate thatthe lCO neveroccurred,the
  status of the developm ent of the M onkey Capital M arket is unknown, and that D efendants

  unlawfully pocketed investormoney. On August14,2018,1entered finaldefaultjudgment
  againstDefendants M onkey CapitalLLC and Monkey CapitalInc.(DE 44).On August27,
  2018,afleranevidentiaryhearing,Iawardeddamages.(DE 50).Harrisonistheonlyremaining
  Defendant,andPlaintiffs'now seek summaryjudgmentagainsthim asto allclaims.
  Il.    LEG A L STA N DA R D

         Si-l-hecourtshallgrantsummaryjudgmentifthe movantshowsthatthereisno genuine
  disputeastoanymaterialfactand themovantisentitled tojudgmentasamatteroflaw.'' Fed.
  R.Civ.P.56(a). 'kGenuinedisputesare those in which theevidenceissuch thata reasonable
  jurycouldreturnaverdictforthenon-movant.''Ellisv.England,432 F.3d 1321,1325-26(11th
  Cir.2005). itlk
                -orfactualissuesto be considered genuine,they musthave a realbasisin the
  record.'' 1d. at 1326 (intelmal citation omitted). ClF'or instance, mere conclusions and
  unsupported factualallegationsarelegally insufficientto defeata summaryjudgmentmotion.''
  Id.(internalcitation omitted). ûkM oreover,statementsin affidavitsthatarebased,in part,upon
  infonnation and belief,cam zotraise genuine issues of fact,and thus also cannotdefeata m otion

  forsummaryjudgment.''Id (internalcitationsomitted).
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          The movantiialwaysbearsthe initialresponsibility of informing the districtcourtofthe

   basis for its motion,and identifying those portions of dthe pleadings,depositions,answers to

   interrogatories,and adm issions on tile,together with the affidavits,if any,' which it believes

   dem onstrate the absenceofagenuine issueofmaterialfact.''Celotex Corp.v.Catrett,477 U.S.

   317,323 (1986)(quoting Fed.R.Civ.P.56(c)(1)(A)).W henthemovingpartybearstheburden
   of proof at trial,kûthe m oving party m ustshow that,on allthe essential elem ents of its case on

   which itbearsthe burden ofproofattrial,no reasonablejury could find forthe nonmoving
   party.'' United Statesv.FourParcelsofRealProp.in Greene& Tuscaloosa Cyw.in Stateof
                                          l991)(internalcitation omitted). k'lfthe moving party
   makessuch an affirmative showing,itisentitled to summary judgmentunlessthe nomnoving
   party, in response, com es forw ard w ith signiticant, probative evidence dem onstrating the

   existenceofatriableissueoffact.''1d. (internalquotationsandcitationsomitted).
          ForpurposesofPlaintiffs'M otion forSum mary Judgm ent,lrely on Plaintiffs'statem ent

   ofundisputed factsforwhich there issupporting evidence in the record.$tA party asserting thata

   factcannotbe or is genuinely disputed m ustsuppol'
                                                    tthe assertion by citing to particular parts of

   m aterialsin the record ...orshowing thatthe m aterials cited do notestablish the absence or

   presence of a genuine dispute,orthatan adverse party cannotproduce adm issible evidence to

   supportthefact.'' Fed.R.Civ.P.56(c)(1)(A)-(B). Pursuantto the LocalRule,ikgalllmaterial
   facts setforth in the movant's statem ent tqled and supported as required ...willbe deem ed

   admitted unlesscontroverted by the opposing party'sstatement,provided thatthe Courtfindsthat

   themovant'sstatementissupported by evidencein therecord.''L.R.56.1(b). Hanison'spro se
   ResponsetoPlaintiffs'summaryjudgmentmotionfailstocomplywithapplicableFederalRules,
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   LocalRulesand law,rendering Plaintiffs'M otion effectively unopposed. Therefore a1lfactsset

  forth inthefollowing analysisofPlaintiffs'claim sare deem ed undisputed and/oradm itted:

  111.   FA CTS

         On or after January 1,2016,D efendant D anielH arrison created M onkey Capital,LLC

  and MonkeyCapitallnc.(ûtM onkey Capital''). (DE 55,StatementofUndisputedFacts(ç$SUF'')
  at !! 1-6). He managed the business affairs of these companies, and controlled their
  development. (SUF at!! 1-6). Harrison'sefforts were essentialto the successofM onkey
  Capital'senterprise.(SUF at!!7-8).
         Monkey Capitalscheduled an lnitialCoin Offering (1$1CO'')to occurin July of2017.
  (SUF !11).Hanison solicitedpeopleto investinM onkeyCapitalatavaluationpremium before
  theMonkey CapitalICO.(SUF ! 11). Harrison solicited investorsintheM onkey CapitalICO,
  Coeval,and M onkey Coin. (SUF !! 12-14). Each ofthenamed Plaintiffsinvested in M onkey
  Capitalw ith an expectation of garnering financialprofit,based on Harrison's representations to

  investors that Monkey Coin would increase in value. (SUF !! l5,17-35). The Plaintiffs'
  investm ents were pooled w ith fundsofotherinvestors in an effortby M onkey Capitalto secure a

  profitforitselfand the investors. (SUF !! 15,17-35). Harrison represented to investorsthat
  M onkey Coin would increase in value, and H anison believed that the Plaintiffs expected to

  protitfrom theirM onkey Capitalinvestments. (SUF ! 15,17-35). The addresson theW aves
  D EX to w hich M onkey Capital investors sent their investm ent assets w as a wallet owned by

  Hanison.(SUF!9).TheMonkeyCapital1CO didnottakeplace.(SUF! 16).
         M onkey Capitalissued tokens,M onkey Coin and Coevaland offered these forsale across

  theUnited States,using electronicmeans. (SUF !!52-54). M onkey Capitaldid notregisterits
  business -- including the issuance oftokens,M onkey Coin or Coeval--w ith the U .S.Securities
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  and Exchange Comm ission,nordid itobtain any exemption from registration requirem entsfrom

  the SEC. (SUF !! 36-51).M onkey Capitalalso did notregister itsbusiness- including the
  issuance oftokens,M onkey Coin or Coeval- w ith any state securities regulator in the United

  States,nordid itobtain exemptionsfrom registration requirementsfrom such entities. (SUF !!
  36-51).
  IV .   D ISCU SSIO N

         Inotehere,as1didatthetinaldefaultjudgmentstageoftheseproceedings,thatthelegal
  conclusions reached in this Orderpertain to legaltheoriesthatare som ew hatnovel. Because this

  Order arises within the context of a motion for summary judgment which is effectively
  unrebutted by the pro se defendant,m y conclusions are necessarily based upon Plaintiffs'one-

  sided subm issionsto the Court,withoutthe benetitofany m eaningfuladversarialprocess.

     A. Violation ofsection 12(a)oftheSecuritiesAct0f1933 (Count1)
         Section 12(a)(l)g15U.S.C.jj77/(a)(1)jgrantsPlaintiffsaprivaterightofaction against
  any person who offersorsellsa security inviolation ofSection 5 g15 U.S.C.j 77e1,and states
  thatsuch person iishallbe liable...to the person purchasing such security from him ,who m ay

  sueeitherat1aw orinequity in any courtofcompetentjurisdiction,torecovertheconsideration
  forsuch security w ith interestthereon,less the am ountofany incom e received thereon,upon the

  tenderofsuch security,orfor dam ages ifhe no longerow nsthe security.''

         To prevailon a Section 5 claim,aplaintiffmustestablish the following elements:t$(1)
  absenceofan effectiveregistrationstatementcoveringthesecuritiesinquestion'
                                                                           ,(2)theofferor
  saleofthesecurities'
                     ,and(3)theuseofthemails,oranymeansorinstrumentsoftransportation
  or com m unication in interstate com m erce in connection w ith the sale or offer.'' Scheck Inv.
                                                                                                 %.,

  L.P.v.KensingtonMgmt.,Inc.,2009W L 10668565,*4(S.D.Fla.June 17,2009)(citingSEC v.
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   UniqueFin.Concepts,lnc.,119 F.supp.zd 1332,1339 (S.D.Fla.1998). The definition ofa
   ûtsecurity''under the Securities Act includes Csinvestment contracttsl.'' çûAn offering is an
   investmentcontractifthereis:(1)an investmentofmoney,(2)in acommon enterprise,(3)with
   the expectation ofprofits to come solely from the effol'ts ofothers.'' Tippens v.Round Island

   PlantationLLC,2009 W L 2365347,at*9(S.D.Fla.July 31,2009)(citingSEC v.UniqueFin.
   Concepts,lnc.,196 F.3d 1l95,1199 (11th Cir.1999). Seealso,SEC v.W J Howey Co.,328

   U.S.293,298-301(1946)(iiblowef').
          By using electronic m eans to offer cryptocurrencies and/or tokens for sale across the

   United States,Hanison directly orindirectly m ade useofmeansorinstrumentsoftransportation

   orcomm unication in interstate com merce to offerto sellorto actually sellsecurities,orto cal'
                                                                                                ry

   or cause such securities to be carried through in interstate com m erce for the purpose of sale or

   fordelivery aftersale. See,e.g.,SEC v.fevin,2013 W L 594736,at*12 (S.D.Fla.Feb.14,
   2013) ($$(T1he internet,which necessarily includes email,is an finstrumentality of interstate
   commerce.''') (quoting United States v.Hornaday 392 F.3d 1306,1311 (11th Cir.2004:.
   Harrison was a isseller''within the meaning ofthe SecuritiesActbecause he solicited Plaintiffs'

   investments in the aborted M onkey Capital ICO. M oreover, no registration statem ents for

   M onkey Capital'sofferings were ever filed w ith the SEC.

          Investm entofM oney:The diinvestm entofm oney''required foran Ctinvestm entcontract''

   need not be m ade in cash and refers m ore generally to ksan arrangem ent w hereby an investor

   commitsassetsto an entemrise orventure in such a mannerasto subjecthimselfto financial
   losses.'' SEC v.Friendly,49 F.Supp.2d 1363,1368-69 (S.D.Fla.1999). Seealso Uselton v.
   Comm.LovelaceM otorFreight,Inc.,940F.2d 564,574(10th Cir.1991).Plaintiffs'investment
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  ofassets,even ifsuch investm ents were in the form ofcryptocurrencies such as Etherand/or

  Bitcoin,w ould satisfy the tlinvestm entofm oney''prong for an investm entcontract.

         Common Enterprise:tû(Ajcommon entep riseexistswherethe çfortunesoftheinvestor
  are interw oven w ith and dependentupon the efforts and success ofthose seeking the investm ent

  ofthirdparties.''SEC v.Unique,196F.3d at1199(citing Villeneuvev.AdvancedBus.Concepts
  Corp.,698 F.2d 1121,1l24 (11th Cir.1990)). dk-l-hethrustofthecommon enterpriseelement
  test is that the investors have no desire to perfonu the chores necessary for a return,and are

  attracted to the investm ent solely by the prospects ofa return.'' Eberhardtv. W aters,901 F.2d

  1578,1580-81 (11th Cir.1990). Thefundspaid by Plaintiffspursuantto the M onkey Capital
  ICO w ere pooled by D efendants in an effortby D efendants to secure a protitfor them selves and

  the investors. A s a result,the investors,including Plaintiffs,shared in the risks and benefits of

  the investm ent.

         Expectation of Profits from the Efforts of O thers: Plaintiffs relied on, and were

  dCPCIV CM VIPOIA,the Cxpertise and Cffol'
                                          ts of D efendant for their investm ent returns. Plaintiffs

  expected that they w ould receive profits from their investm ents in D efendants' efforts. The

  fortunes of individual investors in the M onkey Capital1CO w ere directly tied to the failure or

  success of the products the D efendant purported to develop,and no individual investor could

  exertcontroloverthe success orfailure of his or her investm ent. The third prong ofthe H owey

  test is satistied when Sithe efforts m ade by those other than the investor are the undeniably

  significant ones,those essential m anagerial efforts w hich affect the failure or success of the

  enterprise.'' Bamertv.PulteHomeCorp.,445 Fed.App'x 256,262 (11th Cir.2011)(quoting
  Williamson v.Tucker,645F.2d 404,418 (11th Cir.1981));seealso,SEC v.MerchantCapital,
  LLC,483F.3d747,755(11th Cir.2007)('kthefocusison thedependenceoftheinvestoron the
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  entrepreneurialormanagerialskillsofapromoterorotherparty'')(quotingGordonv.Fcrry,684
  F.2d736,741(11th Cir.1982)).
          kkA lthough H owey stated thatthe expectation ofprofits m ustcom e solely from the efforts

  of others, many courts, including the Eleventh Circuit, have rejected a literal or strict
  interpretation and have instead interpreted lsolely' to m ean substantially or prim arily. The

  Suprem e Courthas rem oved the em phasisfrom the w ord Ssolely'and held thatthe touchstone of

  the testis an investm entin a com m on venture prem ised on a reasonable expectation ofprofits to

  be derived from the entrepreneurial or m anagerial efforts of others.'' Ti
                                                                           ppens, 2009 W L

  2365347,at*9 n.9 (quotationsandcitationsomitted). BecausethesuccessofMonkey Capital
  and the M onkey CapitalM arket that H anison purported to develop w as entirely dependent on

  H arrison's efforts and actions,the third prong is satisfied.

     Thetransactionsatissuehere are investmentcontractsand aretherefore subjectto federal
  securities law s,including the registration requirem ents prom ulgated thereunder. N o registration

  statementshave been filed with the SEC orhave been in effectwith respectto any ofM onkey

  Capital'sofferings.Forpurposesofsummaryjudgment,therecord conclusivelyestablishesthat
  H arrison participated in the offer and sale ofunregistered securities in violation ofthe Securities

  A ct. A s a directand proxim ate resultofH arrison'sunregistered sale ofsecurities,Plaintiffs have

  suffered dam ages in connection w ith their respective purchases of Coeval and M onkey Coin

  securities in the M onkey CapitalIC O.

     B. Violation ofsection 15(a)oftheSecuritiesAct0f1933(CountII)
         S'Section 15g(a) ofthe Securities Actlimposes derivative liability on certain tcontrol
  persons'forprimaryviolationsoftheSecuritiesAct.''Harrisonissubjecttoliabilityby virtueof
  his top-level executive position w ith M onkey Capital LLC and M onkey Capital lnc.,and his
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   intluence over the M onkey Capital entep rise,which provided him the power to control or

   intluence M orlkey Capital's actions. A s founder and m anager of the business activities of

   M onkey Capital,H arrison w as a controlling person. H is know ledge ofthe representations m ade

   by M onkey Capitalin colm ection w ith the 1CO m ay be inferred.By virtue of his position as a

   top-level executive and participation in and/or aw areness of M onkey Capital's operations,

   Hanison had the pow erto and did intluence and controlthe decision m aking relating to M onkey

   Capital's solicitation of funds from investors, including the decision to engage in the sale of

   unregistered securities.M oreover, H arrison successfully solicited Plaintiffs' purchases of the

   securities at issue, m otivated by a desire to serve his own financial interest. A ccordingly,

   Hanison isaS'controllingperson''ofM onkey Capitalwithin themeaningofSection 15(a)ofthe
   Securities Act,l5 U.S.C.j 770.Plaintiffs damages were incurred as a resultof Harrison's
   actionsasa ticontrolling person''ofthe M orlkey Capitalentities.

       C.Rescission ofcontract(Count111)
          'kln order to state a claim for rescission,Plaintiffs m ust plead facts dem onstrating the

   following:(1)the parties'relationship or character'
                                                     ,(2) the making ofa contract;(3) fraud,
   mistake,falserepresentations,impossibilityofperformance,orothergroundsforrescission;(4)
   that the party seeking rescission actually rescinded the contract and notitied the other party

   accordingly;(5)ifthe moving party received benefitsfrom the contract,Plaintiffsmustallege
   thatthey attempted to restorethose benefitsto the party furnishing them;and (6)there isno
   adequate rem edy at 1aw for the m oving party.'' Beaver v.Inkm artLLC,2012 W L 3822264,*5

   (S.D.Fla.Sept.4,2012).
          For reasons previously explained, 1 have found that an investm ent contract existed

   betw een Plaintiffs and D efendants,as sellers ofsecurities. H ow everPlaintiffs have not satistied
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   theirburden ofidentifying evidence in the record to supportspecific acts offraud, m istake or

   false representationson the partofDefendantHarrison. lnsttad,Plaintiffs'cite to the facts set

   forth in thisCourt'sorderentering finaldefaultjudgmentagainstthe M onkey Capitalentities,
   butatthedefaultjudgmentstage,lwasevaluatingthe sufficiency ofthe Plaintiffs'allegations
   only.ThustherecorddoesnotsupportjudgmentinfavorofPlaintiffsontheclaim ofRescission
   ofContract,and Plaintiffs'motion isdenied asto Count111.

      D.AlterEgoLiability (CountJ'PI
          The undisputed facts suffieiently establish that Harrison founded, controlled and acted

   through M onkey CapitalLLC and M onkey CapitalInc. such thathe and the defaulted com panies

   should not be considered separate and distind entities. s4oreover, evidence in the record

   supports a finding that the Defendants comingled assets such that adhering to the fiction of

   separateentitieswouldnotpromotejusticeforthevictimsofDefendants'conduct.
      E. Unregistered Of/e
                         'randSaleof Securitiesin violation of Fla.Stat.## 512#77,etseq.
        (CountP)
          lisection 517.07ofthe(FloridaSecuritiesand lnvestorProtectionActjprovidesthatSgilt
   isunlawfuland aviolation ofthischapterforany person to sellorofferto sella security within

   this state unless the security ... isregistered pursuantto this chapter.'Fla.Stat.j 517.
                                                                                          07(1).
   Aecordingly,in orderforPlaintiffstoprevail. . . theymustestablishthat:(1)gthe)contractssold

   by gDefendants)weresecurities;(2)theseseeuritieswerenotregisteredwiththeStateofFlorida'
                                                                                         ,
   and (3)Defendantssold such unregistered securities.'' Scheck Invs.,L.P.,2009 W L 10668565,
   *2. The scheduled M onkey Capital lCO called for an investm ent of m oney or assets by

  Plaintiffs. The undisputed facts demonstrate thatthe fundspaid by Plaintiffs were pooled by

  Defendants in the project in an effortby Defendants to secure a profitfor themselves and
  Plaintiffs. A s a result,the facts supporta finding thatPlaintiffs--asthe investors --shared in the
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   risks and benefits of the investm ent schem e. Plaintiffs relied upon,and w ere dependentupon,

  the expertise and efforts of H arrison for their investm ent returns. Plaintiffs expected thatthey

   would receive profitsfrom their investm ents in H arrison's efforts.

          Thetransactionsatissueconstitutedinvestmentcontractsandarethereforesubjecttothe
   Florida Blue Sky Laws,including the registration requirements of Fla.Stat.j 517.07. No
  registration statem ents w ere filed w ith the Florida O ffice of Financial Regulation or w ere in

  effect w ith respect to any of the M onkey Capital offerings. Sim ilarly, no exem ption from

  registration exists w ith respect to the M onkey Capital ICO . Despite neither registering the

  offerings nor obtaining an exem ption from registration, H arrison sold Plaintiffs Coeval and

  M onkey Coins in connection w ith the M orlkey CapitalICO . These effectively undisputed facts

  aresufficientto establish Hanison'sviolation ofFla.Stat.jj517.07,etseq.. And asaresultof
  H arrison's sale ofsecurities,Plaintiffs have suffered dam ages in connection w ith theirrespective

  purchasesofCoevaland M onkey Coin securitiesin the M onkey CapitalIC O .

      F. Violation ofFlorida% Deceptiveand UnfairTradePracticesActChapter501,f 211(1) '
         Fla.Stat.(GFDUTPA '!)(CountIzW
          A cause ofaction arising under FDUPTA hastlzree elements:Ct(1)a deceptive actor
  unfairpractice;(2)causation;and (3)actualdamages.''Beaver,2012 W L 3822264,at*4. See
  also Tippens,2009W L 2365347,at*11(same).Chapter501,Fla.Stat.,Florida'sDeceptiveand
  U nfair Trade Practices A ct is to be liberally construed to protect the consum ing public from

  those who engage in unfair m ethods ofcom petition,or unconscionable,deceptive or unfair acts

  orpracticesin the conductofany trade orcom m erce.

          Plaintiffs'motion for summary judgment lists numerousspecific acts and omissions
  w hich Plaintiffs claim w ere deceptive and/or unfair. Plaintiffs state that H anison falsely

  represented,amongotherthings,that:(d(a)M onkeyCapitalwasdeveloping anews,infonuation,
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   and trading network --along with a decentralized hedge fund --in which investors could place

   theirfundsforprotit;(b)Plaintiffs'cryptocurrency was being used to build outthe M onkey
   CapitalNetwork;(Q The M onkey CapitalNetwork would befully functionalshortly afterthe
   ICO;and (d)M onkey Capitalwould timely issue to investorstheirproportionalM orlkey Coin
   holdingsshortly afterthe1CO.'' (DE 54 at l3-14). PlaintiffsarguethattheseactsSkconstitute
   both deceptive and unfairtrade practices because the false representations and om issionsm ade

   byDefendantHanisonhagdjatendencyorcapacitytodeceiveconsumers,suchasPlaintiffs,into
   investinginM onkeyCapital'sfalsely-toutedbusinessand gwerelimmoral,unethical,oppressive,
   unserupulous,orsubstantially injuriousto eonsumers.''         l previously held in the context of

   defaultjudgmentthatthesewell-pleaded facts,taken astrue,were sufficientto imposeliability
   foraviolation ofFDUPTA. Howeverin theirsummaryjudgmentmotion,Plaintiffsciteto no
   evidence in the record to supportthese allegations of specific deceptive acts or unfairpractices.

   Accordingly,themotion isdenied asto CountVI.

      G.FraudulentInducement(CountFA)
          UnderFloridalaw,theelementsoffraudulentinducementare:(1)misrepresentationofa
   materialfact,(2)by someone who knew orshould have known ofthe statement'sfalsity,(3)
   with intentthatthe representation would induce another to rely and act on it, and (4)injury

   suffered injustifiablerelianceon therepresentation.fevengerCo.v.Feldman,516F.Supp.2d
   1272,1290 (S.D.Fla.2007). Again,with resped to thiscount,Plaintiffsdo notcite record
   evidence to supportthe specific m isrepresentations w hich they assert induced them to invest.

   SummaryjudgmentisthereforedeniedastoCountVI1.
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       H.Conversion (Countr'
                           fff)
          ikgcjonversionisan unauthorizedactwhichdeprivesanotherofhispropertypennanently
   orforan indefinite tim e.'' N at'
                                   l Union Fire Ins. Co.ofpennsylvaniav.CaribAviation,Inc.,759

   F.2d 873,878 (11th Cir.1985)(internalquotationsand citationsomitted) U nderFlorida law,
                                                                             .



   the claimant must further 'testablish possession or an imm ediate right to possession of the

   converted property atthe tim e ofthe conversion.'' United States v.Bailey 419 F.3d 1208, 1212

   (1lthCir.2005).ûs-
                    f'hegenerally acceptedruleisthatdemand andrefusalareunnecessarywhere
  the act com plained of am ounts to a conversion regardless of whether a dem and is m ade.''

  lberiaBank v. Coconut 41, LLC,984 F. Supp.2d 1283, 1308 (M .
                                                             D. Fla.2013) (internal
  quotationsand citation omitted). tkButwhile a demand and refusalconstitute evidencethata
  conversion has occurred,itisunnecessary to prove a demand and refusalwhere the conversion

  can be otherwise shown.'' ld      Plaintiffs transferred cryptocurrency to Harrison and/or the

  M onkey Capitalentitiesfor investm entand Harrison did notreturn theirmoney when the 1PO

  failed to launch. Hanison thereby interfered with ordeprived Plaintiffsoftheirproperty. Iwill

  thereforegrantsummaryjudgmentinfavorofPlaintiffsastoCountV11I.
  V.      CO NC LU SIO N

       Forthe above-stated reasons,itisO RDERED AND ADJUDGED that:

                Plaintiffs'Motion for Summary Judgment (DE 54) is GRANTED IN PART
  AND DENIED IN PART. Summ ary Judgment willbe entered in favor of Plaintiffs as to

  Counts1,lI,IV,V,and V11loftheAmended Complaint(DE 28). TheM otion isdenied asto
  Counts 111,V1 and V 1l. Plaintiffs shallfile a notice w ith the Courton or before February 12,

  2019,advising how they intend to proceed in this m atterw ith respectto Counts 111, V Iand V lI.

  Trialis scheduled forFebruary 19, 2019.
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           2.      DefendantDanielHarrison's SkM otion to OrderImm ediate and Urgent Subpoena

   ofPotentiallyConnectedParties''(DE 60)isDENIED           .



                   Dam ages: 1previously considered the issue ofappropriate damages within the

   contextofthe defaultjudgmentproceedings againstthe M onkey Capitalentities 1 held an .



   evidentiary hearing to determ ine the appropriate mannerofcalculating the valu
                                                                                 e of Plaintiffs'
   investm ents,and subsequently ordered thatM onkey CapitalLLC and M onkey CapitalInc.w ere

   jointlyandseverallyindebtedtoPlaintiffsinthefollowingprincipalsumsasofJuly 13, 2017:
                 Nam e ofPlaintiff   C ryptocurrency W rongfully V alue ofCryptocurrency
                                         Taken by Defendants      W rongfully Taken by
                                                                   Defendants($USD)1
                 Andrew Hodges             50.003 bitcoin             $313,61300
                                                                               .

                  VladimirCood               30 bitcoin               $188,157.00
                  Gautam Desai              9.64 bitcoin               $60,461.02
                                       109,101.99W avescoins          $289,241.00
                                      5,105.67 M obileGo coins          $933.78
                                                                   Total:$ 350,635.80
                   Jody Powell               8.2 bitcoin               $52,429.50
                ShammiNabukumar              10bitcoin                 $62,718.90
                Anthony Sajewicz            27.6bitcoin               $173,104.00
                                              48Ether                  $21,101.42
                                         3,000 W avescoins              $7,953.33
                                                                   Total:$202,158.75
                                     TOTAL PRIN CIPAL SUM            $ 1,169,712.95


  lawarded the above sum plus pre-judgmentinterestatthe interestrate setforth in Fla Stat.  .



  j 5.03 from July 13,2017. Before entering finaljudgment and awarding damages against
  Defendant H arrison, 1willprovide him an opportunity to presentto the Courtany evidence or

  argum ent on this issue. D efendantH arrison m ay file a statem ent w ith the C ourt regarding

 1 V aluations w ere taken on July 13, 2017 from w ww .coinM arketcap.com, which takes the
 vol
 i um e weighted average of a1lprices reported atseveraldozen cryptocurrency m arkets serving
  lw estorsin the United Statesand abroad.
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   hisposition on dam ageson or before February 18, 2019. Plaintiffs'm ay file any response to

   DefendantHarrison'ssubmissionthree(3days)thereafter.IfDefendantHarrison isadvisedthat
   failureto respond to thisOrderbefore the deadline willresultin entry ofjudgmentawarding
   dam agesagainsthim in the sum s setforth above.

          DO N E AN D O R DER ED in Cham bers at W est Palm Beach, Florida,this        day of
   February,2018.




                                             D O LD M .M ID D LEBRO OK S
                                             UN ITED STA TES D ISTRICT JU D GE




   Copiesto:    Counselofrecord
                D anielH arrison,pro se
